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 1    Charity A. Olson
 2    Pro hac vice
      BROCK & SCOTT, PLLC
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 4    Ann Arbor, MI 48104
      Tel: (734) 222-5179
 5    Fax: (866) 941-8712
 6
      Charity.olson@brockandscott.com
      Attorneys for Defendants
 7

 8

 9                         UNITED STATES DISTRICT COURT
10
                            FOR THE DISTRICT OF ARIZONA

11    Chance E. Gordon,
                                                  Case No.: 4:17-cv-00169-DCB
12
            Plaintiff,
13                                                NOTICE OF SETTLEMENT
      v.
14

15    Scotia Group Management LLC, an
      Arizona Limited Liability Company,
16
      National Credit Systems Incorporated, a
17    Georgia Corporation, and Unknown
      Party name as Does 1-10,
18

19          Defendants.
20
           Defendants, National Credit Systems Incorporated and Scotia Group
21
     Management LLC (together, “Defendants”), by and through undersigned counsel,
22

23   hereby inform the Court that a settlement of the present matter has been reached. The
24
     parties are finalizing settlement paperwork, which should be completed within the next
25
     30 days.
26

27

28

                                                   1
            Case 4:17-cv-00169-DCB-JR Document 28 Filed 09/19/17 Page 2 of 2



 1          Defendants therefore request that this Honorable Court vacate all dates currently
 2
     set on calendar for the present matter.
 3

 4
     Dated: September 19, 2017                          BROCK & SCOTT, PLLC
 5

 6
                                                        /s/ Charity A. Olson
                                                        Charity A. Olson
 7

 8
                                                        Attorneys for Defendants

 9

10
                                    CERTIFICATE OF SERVICE

11          I, Charity A. Olson, hereby state that on September 19, 2017, a copy of the
     foregoing document was filed via the Court’s ECF system and served upon the
12
     following parties as follows:
13
     Via U.S. First Class and Electronic Mail:
14
     Chance E. Gordon
15   515 E. Grant Rd., #141-277
     Tucson, AZ 85705
16
     Secondking71@gmail.com
17
                                                        /s/ Charity A. Olson
18
                                                        Charity A. Olson
19

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